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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 UNITED STATES OF AMERICA
                                             CRIMINAL ACTION FILE
v.
                                             NO.1:19-CR-184-MHC
 JIM C.BECK,

       Defendant.


  RECEIPT FOR OVERSIZED AND NON-DOCUMENTARY EXHIBITS

      I received from Lynn Wood Beck, Courtroom Deputy Clerk to the

Honorable Judge Mark H. Cohen, on this 22nd day of July, 2021, the following

Defense Exhibits: Exhibit 188A - phone equipment, Exhibit 188B - phone

equipment.


      These exhibits are from the trial beginning July 12, 2021, held before Judge

Cohen. Pursuant to Local Rule 71.(B)(5), I acknowledge that I must file

photographs or other appropriate reproductions of the. e e

unless otherwise ordered by the Court.




                                      Counsel for Defendant
